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                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
______________________________________________________________________________

VALERIE MOORE,                        )
                                      )
Plaintiff,                            )
                                      )
vs.                                   )
                                      )
IT’S ALL GOOD AUTO SALES, INC., and)
MARK GOODFELLOW, individually and )       No.
d/b/a IT’S ALL GOOD AUTO SALES,       )   JURY DEMAND
 INC., and JIMMY FOLEY, individually  )
and as an agent of IT’S ALL GOOD AUTO )
SALES, INC.                           )
                                      )
Defendants.                           )
                                      )
                                      )
______________________________________________________________________________

                                 COMPLAINT
______________________________________________________________________________

       COMES NOW Plaintiff, Valerie Moore, by and through undersigned counsel, and in

support of her claim for relief against Defendants It’s All Good Auto Sales, Inc., Mark

Goodfellow, individually and d/b/a It’s All Good Auto Sales, Inc., and Jimmy Foley,

individually and as an agent of It’s All Good Auto Sales, Inc., and states the following:

I. NATURE OF THE CASE

             1. This is an action for damages, arising under the Racketeer Influence and

                 Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961 et seq. Additionally, the

                 action includes claims under the Truth in Lending Act, the Tennessee Consumer

                 Protection Act, and the Tennessee Uniform Commercial Code, as well as fraud,

                 negligent misrepresentation, breach of contract and conspiracy to commit some
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            or all of the aforementioned torts. All aforementioned acts constitute predatory

            lending and sales practices and a predatory lending and sales scheme by

            Defendants.

         2. Defendants form an enterprise in a fraudulent scheme to sell low quality over

            priced used vehicles to poor and working class African American residents of

            Memphis and in nearby cities and nearby states, through false and misleading

            advertising, and intentionally misleading acts and omissions in sales and

            service.

         3. Defendants take advantage of the buyer’s desperate financial position to impose

            very unfavorable lending terms, and require that the buyer put down most or all

            of their savings to purchase an old and typically unreliable vehicle. Defendants’

            scheme is intended to ultimately deprive buyers of their vehicle so that

            Defendants can resell it from their lot, at the highest down payment possible,

            and repeat the process again and again.

         II. JURISDICTION

         4. This Action is brought pursuant to the provisions of the Racketeer Influence and

            Corrupt Organizations Act ("RICO"), 18 U.S.C. §§ 1961 et seq. and TILA, 15

            U.S.C. § 1601 et seq. Jurisdiction is conferred on this Court by 28 U.S.C. §

            1331, with resulting jurisdiction over Plaintiffs state law claims pursuant to 28

            U.S.C. § 1367.

         III. VENUE

         5. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) in that Plaintiff

            and Defendants reside or do business in this district and/or a substantial part, if



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            not all, of the events or omissions giving rise to the claim occurred in this

            district. Venue is also proper in this district pursuant to 18 U.S.C. § 1965(a) in

            that all parties reside, are found, have an agent, and/or transact his/her/its affairs

            in this district.



         IV. PARTIES

         6. Plaintiff Valerie Moore (hereinafter referred to as “Plaintiff” or “Ms. Moore”) is

            an adult citizen and a resident of Shelby County, Tennessee and currently

            resides at 845 Lenow Park Dr., #101, Memphis TN 38126.

         7. Defendant It’s All Good Auto Sales, Inc. (hereinafter “IAG”)is a for-profit

            company, formed and currently operating in Shelby County, Tennessee, in the

            business of selling used cars to the public. The principal place of business of

            It’s All Good Auto Sales is 2944 South Third St., Memphis, TN 38109. The

            registered agent for It’s All Good Auto Sales is Mark T. Goodfellow, 2944 S.

            Third St., Memphis, TN 38109.

         8. Defendant Mark Goodfellow (hereinafter “Mark” or “Mr. Goodfellow”) is a

            resident and citizen of Shelby County Tennessee. Upon information and belief,

            he is the founder and principal shareholder of It’s All Good Auto Sales, Inc. and

            actively controls the day to day operations of the business.

         9. Defendant Jimmy Foley (hereinafter “Jim” or “Mr. Foley”) is a resident and

            citizen of Shelby County Tennessee. Upon information and belief, he is a

            general manager and shareholder of It’s All Good Auto Sales, Inc. It’s All Good




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            Auto Sales, Inc. and is actively involved in the day to day operations of the

            business.



         V. JURY DEMAND

         10. Plaintiff invokes her right to trial by jury as provided for in 42 U.S.C. §

            1981a(c)(1) and Rule 38 of the Federal Rules of Civil Procedure.



         VI. STATEMENT OF FACTS

         11. Ms. Moore is a 51 year old African American woman who is a resident of

            Shelby County.

         12. On or about September 4, 2010, Ms. Moore went shopping for a car.

         13. Ms. Moore spent hours at several dealerships that day looking for a reliable car

            she could afford. Around 5:00pm or 6:00pm that evening, she went to one final

            dealership- It’s All Good Auto Sales, Inc.

         14. Ms. Moore was attracted to the dealership because it is a major used-car dealer

            in Memphis, it is conveniently located on Third St., in South Memphis, and

            because of the well known promise made by Mr. Goodfellow himself on

            numerous television, radio and internet ads that, “I Don’t Care About Your

            Credit. I Care About You.”

         15. When Ms. Moore arrived at the dealership, she noticed that there were a number

            of used luxury cars and used sports cars parked on the front of the lot that

            appeared to be in good condition. A few of these cars had prices marked on

            them, but the rest of the cars on the lot did not have any visible price tag or



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            other notices on their windows.

         16. A salesman named Steve greeted Ms. Moore at the entrance of the lot, and

            asked her how much of a down payment she could afford. Ms. Moore told him

            she had $600 in her pocket for the down payment.

         17. Steve showed Ms. Moore several cars. Ms. Moore picked out a 1994 Toyota

            Camry. She was not permitted to test drive the car on a road- only around the

            lot. After she finished the test drive, Steve told her that the Camry was $800

            down. Ms. Moore told Steve that all she had was $600 at the time.

         18. While Ms. Moore and Steve were discussing the down payment, a person

            appeared from the finance office. The person introduced himself to Ms. Moore

            as “Jim” (a/k/a Defendant Jimmy Foley). Jim told Ms. Moore that the down

            payment on that Camry was $1000. Ms. Moore told him that she only had $600.

            Jim said to her, “We can work something out with you, we can work something

            out.”

         19. Jim led Ms. Moore to an office to discuss the purchase of the Camry. Jim then

            took out a white piece of paper and put it in front of Ms. Moore. Ms. Moore

            filled the form with her basic information (name, address, etc.). Jim took the

            paper to a secretary. He then appeared with the Conditional Sales Security and

            Federal Truth in Lending Disclosure Statement (“sales contract”).

         20. Jim presented Ms. Moore with the sales contract. Instead of showing Ms. Moore

            the “cash down payment” and “deferred down payment” in the numbered lines

            at the top of the contract, or the 26% stated APR, or the Total Sale Price in the

            Truth in Lending (TIL) boxes, he drew Ms. Moore’s attention below the TIL



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            disclosure boxes with a pen, to a series of numbers and dates added in between

            the TIL disclosure boxes and the spaces on the form for the regular payments.

            Jim then told Ms. Moore that her first “quickpay” of $350 would be due on

            September 7, 2010, the next “quickpay” would be due on the 21st, and the final

            “quickpay” would be due in October 2010, without ever defining “quickpay”

            for her.

         21. By the time Jim finished pointing out the due dates for the car payments, the

            store was beginning to close. Ms. Moore was exhausted from shopping for cars

            all day long. She needed a car to go to the hospital that day to be there for the

            birth of her great grandchild. She also needed it to get to her doctor’s

            appointments and to take her grandson to school, as well as transport herself

            around Memphis. Ms. Moore believed that she finally found the car she

            desperately needed.

         22. Jim gave Ms. Moore a pen and instructed her to sign the sales contract at the

            bottom of the document if she wanted the car. Ms. Moore signed the sales

            contract in reliance on Jim’s statements that that the total amount of the down

            payment would be $1000, and that the other terms were accurate. Ms. Moore

            believed that the “quickpay” numbers that Jim pointed to on the sales contract

            added up to about $1000, which was the amount of down payment she had

            agreed to pay.

         23. Jim gave Ms. Moore a copy of the sales contract after she signed it, and took

            another copy to a secretary. After about thirty minutes, the secretary gave Ms.

            Moore the keys and drive-out tags for the vehicle. Ms. Moore drove home,



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            changed her clothes, and drove to the hospital to visit her new great

            granddaughter, who was born during the time Ms. Moore spent waiting to

            purchase the car from IAG.

         24. After Ms. Moore returned from the hospital visit, she took another look at the

            sales contract for the car she just bought from IAG. It appeared on closer

            inspection, that the total down payment on the car, according to the sales

            contract, was $1520, and not the $1000 that Jim had promised. Ms. Moore felt

            that she had been misled by Jim. She was very upset about this. She could not

            sleep.

         25. The next morning, on September 5th, Ms. Moore awoke and drove to IAG as

            soon as the dealership opened. Ms. Moore spoke to Jim about the car. She asked

            him why the car was $1520 down payment instead of the $1000 he promised.

            Jim claimed that the additional $520 was sales tax. Ms. Moore pointed to line

            “7”, “Sales Tax” in the amount of $518.20, and asked Jim why she was being

            charged twice.

         26. Instead of answering that question, he changed the subject, and began to say

            something about “quickpay”, but he still failed to explain what that term meant,

            or where it came from. Ms. Moore was getting upset at that point because it had

            become apparent to her that he had made intentional misrepresentations about

            the financing of the car when she bought it, and that he was making further

            intentional misrepresentations to cover it up.

         27. On September 6th, Ms. Moore went back to the dealership to find Defendant Mr.

            Goodfellow to discuss her car. When Ms. Moore arrived at the dealership, she



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            found Mr. Goodfellow standing on the lot. Ms. Moore drove up to him, and

            showed Mr. Goodfellow the sales contract for the car she had bought from the

            dealership two days earlier. Ms. Moore explained that the amount of the down

            payment on the sales contract was not the amount Jim had promised. By then,

            the car had begun making a constant “knocking” noise, which she also pointed

            out to Mr. Goodfellow. Ms. Moore then asked Mr. Goodfellow to refund the

            money she paid for the car because of Jim’s misrepresentation and the poor

            condition of the vehicle. Mr. Goodfellow told her that he could not do that, but

            that she could leave the car on the lot if she didn’t want it anymore.

         28. Ms. Moore decided to drive the car home that day, even though she believed she

            had been cheated, because she feared if she did not, she would lose the car and

            the money she had already put into the car. Ms. Moore had paid $650 down for

            the car on the day of purchase. She made timely payments on the rest of the

            “quickpays”, in the amount of $870. Because the car continued to have

            electrical and mechanical problems, she brought it to IAG for repairs. IAG

            agreed to add the cost of the repairs on top of the total price of the vehicle. Ms.

            Moore continued to make timely regular payments on the car. She paid IAG

            $250 on the 5th of each month, from November through January, for total of

            $750. She had paid a grand total of $2270 of the total price of the car, which

            was $8830, for the seventeen year old Toyota Camry.

         29. Despite the repairs made by IAG, the car continued to have electrical and

            mechanical problems. Finally, in mid to late November 2010, the car broke

            down completely. Ms. Moore was in Whitehaven at the time, taking a relative to



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            a doctor’s appointment. When she left the doctor’s office, Ms. Moore could not

            start the car. Thinking that her battery had died, she called her son, and asked

            him to give her a boost. When that failed to start her car, Ms. Moore called her

            mechanic, Javier, who was able to start the car again.

         30. Ms. Moore left the parking lot of the doctor’s office in her car, but it broke

            down again before she could make it home. She coasted the car to a stop in a

            parking lot, and walked to an ambulance repair shop that was nearby. She

            obtained the assistance of three mechanics from the shop, but they could not get

            the car to start up again. Ms. Moore then called her son, who pushed her vehicle

            with his car.

         31. When Ms. Moore finally got home that day, she called IAG. Ms. Moore asked

            to speak with Mr. Goodfellow. She told Mr. Goodfellow that her car had

            become inoperable. Mr. Goodfellow told her to fix the car. Ms. Moore told him

            that she could not afford to spend money up front to fix the car. Mr. Goodfellow

            suggested that she bring the car to his dealership. Ms. Moore asked him how she

            was going to do that if car was not running. Mr. Goodfellow asked her to tow

            the car to his dealership. She said she could not afford it. Mr. Goodfellow

            eventually offered to send a tow truck. The tow truck picked up the car later that

            day.

         32. After her car was towed to the dealership, Ms. Moore called Mr. Goodfellow

            and asked him when the dealership would finish working on her car. Mr.

            Goodfellow said he didn’t know. He said he had to get hundreds of other cars

            ready for “tax time”.



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          33. Based on Mr. Goodfellow’s statement about getting the other cars ready for “tax

             time”, Ms. Moore believed that he had no intention of making repairs to the car

             anytime soon. Ms. Moore had been lied to during and after the sale of the car by

             IAG, and now the car didn’t even work. It had become clear to Ms. Moore that

             Mr. Goodfellow did not care about her- only her money.

          34. Ms. Moore contacted Memphis Area Legal Services, Inc. (hereinafter “MALS”)

             the next day to seek legal assistance regarding the transaction with IAG. MALS

             prepared a revocation/rescission letter for Ms. Moore.

          35. On or about January 2011, Ms. Moore returned to the lot to drop off the keys to

             the car, deliver the letter, and retrieve her personal belongings from the car. The

             car was located in a remote lot- nowhere near the dealership’s repair shop. It did

             not appear that Mr. Goodfellow had any intention of repairing the vehicle.

          36. In February 2011, Ms. Moore received a notice from IAG that the car was being

             sold at a public sale.




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          VII. CAUSES OF ACTION

          COUNT I

          VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
          ORGANIZATIONS ACT 18 U.S.C.§ 1961 et seq. - ALL DEFENDANTS

          37. Plaintiffs incorporate by reference the preceding paragraphs of this Complaint

             and allege that all Defendants, engaged in a predatory lending and sales scheme

             and in an organized effort to sell low quality over priced used vehicles to poor

             and working class African American residents of Memphis and cities in nearby

             states through false and misleading advertising, and intentionally misleading

             acts and omissions in sales and service. Defendants take advantage of the

             buyer’s desperate financial position to impose very unfavorable lending terms,

             and require that the buyer put down most or all of their savings to purchase an

             old and typically unreliable vehicle. Defendants’ scheme is intended to

             ultimately deprive buyers of their vehicle so that Defendants’ can resell it from

             their lot, at the highest down payment possible, and repeat the process again. All

             Defendants used wire, radio, or television communication in interstate or

             foreign commerce, as well as writings, signs, signals pictures, or sounds in

             furtherance of their actions as set forth above, and all Defendants engaged in a

             pattern of racketeering activity as defined in 18 U.S.C. §§ 1961-1968.

          38. Defendants, all of which are persons within the meaning of RICO, are employed

             by or associated with an enterprise whose activities engage in or affect interstate

             commerce and conducted or participated, directly or indirectly, in the conduct of

             such enterprise’s affairs through a pattern of racketeering activity in violation of

             18 U.S.C.§ 1962(c); to wit, multiple violations of 18 U.S.C. § 1343.

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          39. The members of the group have the same or similar purposes, results,

             participants, victims, methods of commission and are interrelated by

             distinguishing characteristics and are not isolated events.

          40. All Defendants violated 18 U.S.C. § 1343 multiple times, having devised or

             intended to devise a scheme or artifice to defraud, or for obtaining money or

             property by means of false or fraudulent pretenses, representations, or promises

             transmitted or caused to be transmitted by means of wire, radio, or television

             communication in interstate or foreign commerce, any writings, signs, signals,

             pictures, or sounds, for the purpose of executing such scheme or artifice.

          41. The multiple violations of 18 U.S.C. §1343 constitute racketeering activity

             pursuant to 18 U.S.C. § 1961 and were integral part of and essential to the

             success of the Predatory Lending and Sales Scheme.

          42. All Defendants knew the Predatory Lending and Sales Scheme could not have

             succeeded and/or continued without the use of extensive advertisements through

             wire, internet, radio, television, and pictures in interstate or foreign commerce

             for the purpose of transmitting misleading and fraudulent information to

             prospective customers such as Plaintiff.

          43. The facts demonstrate that Defendants formed an association-in-fact.

          44. The associated persons formed an ongoing organization, formal or informal,

             concerning the RICO Enterprise, and the various associates functioned as a

             continuing unit of the RICO Enterprise, and the RICO Enterprise exists separate

             and apart from the predicate activities themselves. The facts in the case

             demonstrate the existence of an association-in-fact RICO Enterprise by showing



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             that the enterprise has a certain amount of organizational structure or some sort

             of chain of command.

          45. Defendants Mr. Goodfellow and Mr. Foley, acting as agents for IAG are at the

             heart of the RICO Enterprise. Their role as facilitators is crucial to the success

             of the enterprise. The scheme begins with television, radio and internet

             advertising for IAG that is targeted at poor and working class African

             Americans who live in Memphis, West Memphis, and other nearby cities in

             Tennessee, Arkansas and Mississippi. Although advertisements are used year

             around, advertisement is intensified at the beginning of the year, at the time

             most of the targeted customers get their tax returns.

          46. When the customers arrive at IAG, they are greeted by a salesperson. The cars

             in the front of the lot are usually a used sports or luxury car. These vehicles are

             intended to get the interest of the customer. These vehicles have prices posted

             on them, which are generally outside the price range of most customers.

          47. The first thing that the salesman asks the customer is either how much cash the

             customer has in his or her pocket, or how much of a down payment can he or

             she make that day. The salesman then brings the customer further back in the lot

             to a vast selection of low quality used cars. The cars have an inventory number

             painted on the front wind shield, but do not have a price listed on them, nor do

             the cars have the necessary Buyer’s Guide or any other paperwork posted on the

             outside window.

          48. Once the customer picks out a car, the salesman may or may not allow the

             customer to test drive the car. The salesman will then tell the customer that he



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             or she must make a down payment in a certain amount. Whether or not the

             customer and salesman agree on a down payment, the salesperson will direct the

             customer to a building on the IAG property where the car is financed. The

             salesman will then hand over the customer to a person to finance the vehicle.

             The finance person is either Mr. Goodfellow or Mr. Foley.

          49. The finance person often quotes a down payment for the car that is different,

             and higher, than the amount the customer believed he or she had negotiated with

             the salesman. If the customer and the finance person agree on a down payment,

             the customer will be asked to fill out a sheet of paper with some basic

             information, then the customer will be presented with a pre-filled out sales

             contract. The finance person will then use one of several techniques to distract

             the customer from the high interest rate, actual down payment, total price, and

             the Truth in Lending boxes in general. The finance person will instead draw the

             customer’s attention to the due date for the payments, without explaining

             anything about the payments. Because the vehicle is often financed with

             multiple “quickpays,” there are multiple sets of installment payments, which are

             often less than a month from the date of purchase. This is designed to ensure

             that the customer will default.

          50. After the customer signs the paperwork, and hands over all the cash in his or her

             pocket, the customer believes that he or she has a reliable car, and the RICO

             Enterprise of IAG, Mr. Goodfellow, Mr. Foley, the salesperson, as well as other

             agents of IAG, have already made a profit on the old, poor quality vehicle sold

             to the customer. The customer has also been setup for the second part of the



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             scheme. Having already spent all the money in his or her pocket for the car

             upfront, the customer is likely to have difficulty making the first payment or

             subsequent payments for the remainder of the down payment. If the customer

             misses that payment, or any payment, a tow truck is quickly sent to repossess

             the vehicle. Because the customer cannot afford to redeem the vehicle, the

             RICO Enterprise will get the vehicle back quickly, so that it can turn it around

             and begin the process again.

          51. If the customer does manage to make payments on the car, the trap is sprung

             when the car inevitably breaks down. The customer cannot afford to make

             payments on the car and repair it at the same time, so he or she either asks the

             IAG to repair it, or misses a payment trying to get the car to run. Either way, the

             RICO Enterprise is for Defendants to get the car back, so that it can be sold

             again, regardless of it mechanical condition. The same fifteen to twenty year old

             car could be sold and re-sold every month of the year, raking in significant

             profits for the RICO Enterprise.

          52. By reason of the aforesaid violations of the Racketeer Influence and Corrupt

             Organizations Act ("RICO"), 18 U.S.C. § 1964(c), Defendants are liable to

             Plaintiff for actual and treble damages, as well as for costs and attorney’s fees.


          COUNT II

          VIOLATIONS OF THE TRUTH IN LENDING ACT

          53. The Plaintiff incorporates by reference the preceding paragraphs of this

             Complaint and alleges that all Defendants have violated the provisions of Truth-




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              In-Lending Act, 15 U.S.C. § 1601, et seq., and Regulation Z which implements

              the Truth-In-Lending Act, 12 C.F.R. § 226, et seq. (TILA):

         a. By failing to make required disclosures clearly and conspicuously in writing in

            violation of 15 U.S.C. § 1632(a) and Regulation Z § 226.17(a). Defendants

            misdirected Plaintiff’s attention away from the mandatory TIL disclosures, and

            the other lines regarding the actual down payment and deferred down payment on

            the sales contract to the “quickpay” schedule that was added as an alteration to the

            original form.

         b. By failing to disclose the correct APR on the sales contract in violation of 15

            U.S.C. § 1606 (c) and Regulation Z § 226.22 (a)(2). The APR disclosed on the

            sales contract in 26.000%. However, using a payment calculator, the APR comes

            out to 27.961%. The difference is more than the 1/8 of one percent (.125%)

            allowed by the statute. Further, the difference is a purposeful understatement by

            Defendants, not a good faith mathematical error by Defendant.

          54. By reason of the aforesaid violations of the Act and Regulation Z, Defendants

              are liable to Plaintiff in the amount of twice the finance charge, actual damages

              to be established at trial, and attorney’s fees and costs in accordance with 15

              U.S.C. § 1640.



          COUNT III

          FRAUD

          55. The Plaintiff incorporates by reference the preceding paragraphs of this

              Complaint and alleges that all Defendants engaged in a fraudulent scheme to



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                 sell low quality over priced used vehicles to poor and working class African

                 American residents of Memphis in cities in nearby states through false and

                 misleading advertising, and intentionally misleading acts and omissions in sales

                 and service.

              56. The above-described acts of Defendants constitute intentional

                 misrepresentations by the Defendants of material facts, including, but not

                 limited to the following:

         a. Defendants’ television, radio and internet ads featuring Mark Goodfellow’s

               trademarked phrase, “I Don’t Care About Your Credit. I Care About You.”

         b. The lack of a Buyer’s Guide (per FTC Used Car Rule, 16 CFR Part 455) or any

               pricing information on most if not all vehicles on the lot, including the car the

               Plaintiff purchased;

         c. The bait-and switch tactic used by Defendant to obtain a higher down-payment

               from Plaintiff in the sales contract;

         d.     The Defendants’ misdirection of Plaintiff’s attention away from the mandatory

               TIL disclosures, and the other lines regarding the actual down payment and

               deferred down payment on the sales contract to the “quickpay” schedule that was

               added in outside the disclosure boxes;

         e.     The Defendants’ attempt to conceal the actual down payment amount, by first

               misrepresenting the amount and then claiming to Plaintiff, when the

               misrepresentation was detected, that the $520 added to the agreed $1000 down

               payment was sales tax; and

         f. Defendants’ promise to make repairs to the vehicle after towing it the dealership.



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          57. Defendants made the above-described misrepresentations with full knowledge

             of their falsity, without belief in their truth, or with reckless disregard of the

             truth.

          58. Plaintiff reasonably relied on the above-described misrepresentations of

             material facts by Defendants.

          59. Plaintiff suffered damages, great mental anguish, and emotional distress as a

             result of the above-described misrepresentations of material facts by

             Defendants.

          60. Defendants are liable for actual, compensatory, and punitive damages.



          COUNT IV

          VIOLATION OF TENNESSEE CONSUMER PROTECTION ACT

          61. The Plaintiff incorporates by reference the preceding paragraphs of this

             Complaint and alleges that Defendants violated Tennessee Consumer Protection

             Act by engaging in unfair and deceptive acts and practices in the course of

             selling a car to the Plaintiff.

          62. IAG is a “person” as defined by the Tennessee Consumer Protection Act,

             T.C.A. §47-18-103(9).

          63. Mr. Goodfellow is a “person” as defined by the Tennessee Consumer Protection

             Act, T.C.A. §47-18-103(9).

          64. Mr. Foley is a “person” as defined by the Tennessee Consumer Protection Act,

             T.C.A. §47-18-103(9).




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          65. Defendants violated the Tennessee Consumer Protection Act, T.C.A. §47-18-

              101 et seq. (hereinafter referred to as“TCPA”) by engaging in the

              representations and omissions described in the above paragraphs of this

              Complaint. These representations and omissions constitute unfair and/or

              deceptive acts and/or practices which affect trade or commerce within

              Tennessee in violation of the TCPA, T.C.A. §47-18-104(b), and include but are

              not limited to:

         a. Defendants’ television, radio and internet ads featuring Mark Goodfellow’s

            trademarked phrase, “I Don’t Care About Your Credit. I Care About You.”

         b. The lack of a Buyer’s Guide (per FTC Used Car Rule, 16 CFR Part 455) or any

            pricing information on most if not all vehicle on the lot, including the car the

            Plaintiff purchased;

         c. The bait-and switch tactic used by Defendants to obtain a higher down-payment

            from Plaintiff in the sales contract;

         d. The Defendants’ misdirection of Plaintiff’s attention away from the mandatory

            TIL disclosures, and the other lines regarding the actual down payment and

            deferred down payment on the sales contract to the “quickpay” schedule that was

            added in outside the disclosure boxes;

         e. The Defendants’ attempt to conceal the actual down payment amount, by first

            misrepresenting the amount and then claiming to Plaintiff, when the

            misrepresentation was detected, that the $520 added to the agreed $1000 down

            payment was sales tax; and

         f. Defendants’ promise to make repairs to the vehicle after towing it the dealership.



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           66. These representations and omissions constitute unfair and/or deceptive acts

               and/or practices which affect trade or commerce within Tennessee in violation

               of the TCPA, T.C.A. § 47-18-104(b).

           67. As a result of all Defendants’ violation of the TCPA, it is liable to Plaintiff for

               all actual damages, as well as attorney’s fees and costs pursuant to TCPA,

               T.C.A. § 47-18-109(e)(1).

           68. In addition, to the extent any and all Defendants’ violations were intentional (as

               opposed to merely negligent), the actual damages to Plaintiff should be trebled

               pursuant to the TCPA, T.C.A. § 47-18-109(a)(3).

           COUNT V

           NEGLIGENT MISREPRESENTATION

           69. The Plaintiff incorporates by reference the preceding paragraphs of this

               Complaint and alleges that all Defendants made negligent misrepresentations to

               Plaintiff in the course of selling the car, including but not limited to:

         a. Defendants’ television, radio and internet ads featuring Mark Goodfellow’s

              trademarked phrase, “I Don’t Care About Your Credit. I Care About You.”

         b. The lack of a Buyer’s Guide (per FTC Used Car Rule, 16 CFR Part 455) or any

              pricing information on most if not all vehicle on the lot, including the car the

              Plaintiff purchased;

         c. The bait-and switch tactic used by Defendants to obtain a higher down-payment

              from Plaintiff in the sales contract;

         d.   The Defendants’ misdirection of Plaintiff’s attention away from the mandatory

              TIL disclosures, and the other lines regarding the actual down payment and



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            deferred down payment on the sales contract to the “quickpay” schedule that was

            added in outside the disclosure boxes;

         e. The Defendants’ attempt to conceal the actual down payment amount, by first

            misrepresenting the amount and then claiming to Plaintiff, when the

            misrepresentation was detected, that the $520 added to the agreed $1000 down

            payment was sales tax; and

         f. Defendants’ promise to make repairs to the vehicle after towing it the dealership.

          70. Defendants did not exercise reasonable care in obtaining or communicating the

              above-described false information to Plaintiff.

          71. Plaintiff justifiably relied on the above-described false information supplied by

              Defendants.

          72. Plaintiff suffered damages as a result of the above-described false information

              by Defendants.

          73. Defendant is liable for actual and compensatory damages.



          COUNT VI

          VIOLATION OF THE TENNESSEE UNIFORM COMMERCIAL CODE

          Breach of Implied Warranties of Fitness and/or Merchantability

          74. The Plaintiff incorporates by reference the preceding paragraphs of this

              Complaint and alleges that Defendants breached the implied warranties of

              fitness and/or merchantability in the sale of the car to Plaintiff, entitling Plaintiff

              to reject and/or revoke her purchase of the car.

          75. A warranty that the Plaintiff’s car was fit for the particular purposes of

              transporting the Plaintiff and her passengers to doctor’s appointments, school,
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             and on other necessary errands in Memphis was implied by law in the instant

             transaction, pursuant to T.C.A. § 47-2-315.

          76. Plaintiff put Defendants on notice within three days after purchasing the car that

             it was having mechanical problems, and asked to return the vehicle and get a

             refund. When Defendants refused, Plaintiff attempted to repair those mechanical

             problems. Several weeks later the car became inoperable.

          77. Because the car Defendant sold to Plaintiff could not fulfill the implied

             purposes, Defendants were in breach of the warranties of fitness for the

             particular purposes and/or merchantability.

          78. As a result, Plaintiff is entitled to recover actual and consequential damages.

          Rejection and/or Revocation of Acceptance

          79. The Plaintiff incorporates by reference the preceding paragraphs of this

             Complaint and alleges that the value of the Plaintiff’s car was substantially

             impaired by defects that existed prior to the purchase of the vehicle and that

             Plaintiff lost faith in the transaction because of the misrepresentations of

             Defendants.

          80. Ms. Moore notified Defendants about those defects and her loss of faith in the

             transaction as soon as she became aware of them.

          81. Ms. Moore accepted the car from the Defendants without knowledge of the

             defects, which were not detectable by an ordinary layperson, and without

             knowledge of the falsity of the misrepresentations.

          82. The defects were not seasonably, if ever, cured by Defendants.

          83. The defects rendered the car inoperable within weeks of the purchase.



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            84. Plaintiff rightfully and effectively rejected and/or revoked her acceptance of the

               car she bought from Defendants three days after the purchase.

            85. As a result, Plaintiff is entitled to recover actual and consequential damages.



            COUNT VII

            BREACH OF CONTRACT

            86. Plaintiff incorporates by reference the preceding paragraphs of this Complaint

               and alleges that Defendants had a contractual relationship with the Plaintiff,

               either directly or implicitly; Defendants, either directly or through agents,

               breached such contracts with Plaintiff; and that the breaching of such contracts

               by Defendants was the proximate cause of damages suffered by Plaintiff.

            87. As a result, Plaintiff is entitled to recover actual and consequential damages.



WHEREFORE, Plaintiff respectfully prays that this Court:

      1.     Assume Jurisdiction of this case;

      2.     Empanel a jury to hear the issues in this case pursuant to Rule 38 of the Federal

             Rules of Civil Procedure and 42 U.S.C.§ 1981a (c)(1);

      3.     Award to Plaintiff actual and treble damages to be established at trial pursuant to

             Racketeer Influence and Corrupt Organizations Act ("RICO"), 18 U.S.C. §

             1964(c);

      4.     Award to Plaintiff costs and attorney fees pursuant to RICO, 18 U.S.C. § 1964(c);

      5.     Award to Plaintiff statutory damages in the amount of twice the finance charge in

             accordance with 15 U.S.C. § 1640(a)(2);



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      6.       Award to Plaintiff actual damages to be established at trial in accordance with 15

               U.S.C. § 1640(a)(1);

      7.       Award to Plaintiff costs and attorney fees in accordance with 15 U.S.C. §

               1640(a)(4);

      8.       Award to Plaintiff actual, compensatory, and punitive damages to be established

               at trial for fraud;

      9.       Award to Plaintiff actual and treble damages to be established at trial for violation

               of the Tennessee Consumer Protection Act, Tenn. Code Ann. § 47-18-101, et

               seq.;

      10.      Award to Plaintiff costs and reasonable attorney fees pursuant to Tennessee

               Consumer Protection Act, Tenn. Code Ann. § 47-18-109(e)(1);

      11.      Award to Plaintiff actual and compensatory damages to be established at trial for

               negligent misrepresentation;

      12.      Award to Plaintiff damages for violations of the Tennessee Uniform Commercial

               Code, for an amount to be proven at trial;

      13.      Award to Plaintiff damages for breach of contract for an amount to be proven at

               trial;

      14.      For a judgment against Defendants for compensatory damages in an amount to be

               proven at trial;

      15.      Award to Plaintiff such other relief to which Plaintiff is entitled and that is

               deemed appropriate by the Court.


            Dated: September 2, 2011.




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                                            Respectfully submitted,


                                            s/ Craig Barnes___
                                            Craig Barnes, BPR # 25121
                                            Attorney for Plaintiff
                                            Memphis Area Legal Services, Inc.
                                            109 North Main, Ste. 200
                                            Memphis, TN 38103
                                            (901) 523-8822




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